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                      UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
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                                     )
IN RE: TERRORIST ATTACKS ON          )  Civil Action No. 03 MDL 1570 (GBD)
SEPTEMBER 11, 2001                   )  ECF Case
____________________________________ )

This document relates to:

   Federal Insurance Co., et al. v. al Qaida, et al., No. 03-cv-6978
   Vigilant Insurance Co., et al. v. Kingdom of Saudi Arabia, et al., No. 03-cv-8591
   Thomas Burnett, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 03-cv-9849
   Estate of John P. O’Neill, Sr., et al. v. Kingdom of Saudi Arabia, et al., No. 04-cv-1922
   Continental Casualty Co., et al. v. Al Qaeda, et al., No. 04-cv-5970
   Cantor Fitzgerald Assocs., et al. v. Akida Inv. Co., et al., No. 04-cv-7065
   Pacific Employers Insurance Co., et al. v. Kingdom of Saudi Arabia, et al.,
   No. 04-cv-7216
   Euro Brokers Inc., et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 04-cv-7279
   Beazley Furlonge Ltd. v. Saudi Binladin Group, Inc., et al., No. 16-cv-7456
   Bowrosen, et al. v. Kingdom of Saudi Arabia, No. 16-cv-8070
   McCarthy, et al. v. Kingdom of Saudi Arabia, No. 16-cv-8884
   Aguilar, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-9663
   Addesso, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-9937
   Hodges, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-117
   DeSimone v. Kingdom of Saudi Arabia, No. 17-cv-348
   Aiken, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-450
   Ashton, et al. v. Kingdom of Saudi Arabia, No. 17-cv-2003
   The Underwriting Members of Lloyd’s Syndicate 53, et al. v. Kingdom of Saudi Arabia,
   et al., No. 17-cv-2129
   The Charter Oak Fire Insurance Co., et al. v. Al Rajhi Bank, et al., No. 17-cv-2651
   General Reinsurance Corp., et al. v. Kingdom of Saudi Arabia, No. 17-cv-3810
   Abarca, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-3887
   Arrowood Indemnity Co. v. Kingdom of Saudi Arabia, et al., No. 17-cv-3908
   Abrams, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-4201
   Abtello, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-5174
   Aasheim, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-5471
   Abedhajajreh, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-6123
   Allianz Versicherungs-Aktiengesellschaft, et al. v. Kingdom of Saudi Arabia,
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   No. 17-cv-6519
   Fraser, et al. v. Al Qaeda Islamic Army, et al., No. 17-cv-7317
   Muenchener Rueckversicherungs-Gesellschaft Aktiengesellschaft in Muenchen, et al. v.
   Kingdom of Saudi Arabia, et al., No. 17-cv-7914
   Abbate, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-8617
   Abarca, et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-947
   Behette, et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-538
   Dillaber, et al. v. Islamic Republic Of Iran et al., No. 18-cv-3162
   Leftt et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-03353

                     MOTION TO ADMIT COUNSEL PRO HAC VICE

               PURSUANT TO RULE 1.3 of the Local Rules of the United States District

Courts for the Southern and Eastern Districts of New York, I, Daniel V. Dorris, hereby move this

Court for an Order for admission to practice Pro Hac Vice to appear as counsel for the defendant

The Kingdom of Saudi Arabia in the above-captioned litigation and individual cases.

       I am a member in good standing of the Bars of the District of Columbia and the State of

Illinois and there are no pending disciplinary proceedings against me in any state or federal

Court. I have never been censured, suspended, disbarred or denied admission or readmission by

any court. I have attached the affidavit pursuant to Local Rule 1.3.

 Dated: June 1, 2018                                 Respectfully submitted,


                                                     /s/ Daniel V. Dorris
                                                     Daniel V. Dorris
                                                     KELLOGG, HANSEN, TODD,
                                                       FIGEL & FREDERICK, P.L.L.C.
                                                     1615 M Street, NW, Suite 400
                                                     Washington, DC 20036
                                                     Telephone: (202) 326-7938
                                                     Facsimile: (202) 326-7999
                                                     ddorris@kellogghansen.com




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2018, I caused an electronic copy of the foregoing Motion

For Admission Of Daniel V. Dorris Pro Hac Vice to be served electronically by the Court’s

Electronic Case Filing (ECF) System. I caused the foregoing to be filed on the MDL docket and

on the dockets of the below-captioned individual cases:

   Federal Insurance Co., et al. v. al Qaida, et al., No. 03-cv-6978
   Vigilant Insurance Co., et al. v. Kingdom of Saudi Arabia, et al., No. 03-cv-8591
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  Behette, et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-538
  Dillaber, et al. v. Islamic Republic Of Iran et al., No. 18-cv-3162
  Leftt et al. v. Kingdom of Saudi Arabia et al., No. 18-cv-03353




Dated: June 1, 2018                             Respectfully submitted,


                                                /s/ Daniel V. Dorris
                                                Daniel V. Dorris




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